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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

ALMA ALVARADO DE LA PORTILLA §                        CIVIL ACTION NO. __________
Plaintiff,                   §
                             §
V.                           §
                             §
FIESTA MART LLC              §
                             §
Defendant.                   §                        NOTICE OF REMOVAL

                                NOTICE OF REMOVAL
TO THE UNITED STATES DISTRICT COURT:

        Defendant FIESTA MART LLC             pursuant to 28 U.S.C. §§1441 and 1332,

provides notice of removal of this action styled Alma Alvarado de la Portilla v. Fiesta

Mart LLC, Cause No. 2020-76851, currently pending in the 270th Judicial District Court

of Harris County, Texas, and in support thereof, respectfully shows unto this Court as

follows:

        1.      Plaintiff Alma Alvarado de la Portilla filed her Original Petition on

December 1, 2020, claiming damages when a light bulb on a hot food bar allegedly

broke. Plaintiff served Defendant with the citation on January 15, 2021, therefore, this

notice is timely under 28 U.S.C. § 1446(b).

        2.      Pursuant to 28 U.S.C. §1446 and the Local Rules of the United States

District Court for the Southern District of Texas, attached are the following:

        a.      All executed process in the case (Exhibit A);

        b.      Pleadings asserting causes of action and all answers to such pleadings

                (Exhibit B);

        c.      All orders signed by the state judge (none);

        d.      The docket sheet (none);

        e.      An index of matters being filed (Exhibit C);



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           f.       A list of all counsel of record, including addresses, telephone numbers,

                    and parties represented (Exhibit D).

These documents represent all that are presently available as required.

           4.       The District Courts of the United States have original jurisdiction over this

action by reason of diversity of citizenship between the parties. 28 U.S.C. §1332.

Plaintiff’s Original Petition alleges that Plaintiff Alma Alvarado de la Portilla resides in

Harris County, Texas, and therefore is a citizen of the state of Texas.                           Although

Defendant Fiesta Mart LLC, is a limited liability company organized under the laws of

Texas, its sole member is Bodega Latina Corp., a Delaware corporation with its principal

place of business, or its “nerve center” in California. See Exhibit E. Defendant Fiesta

Mart LLC’s citizenship as an LLC is determined by the citizenship of its members.1 A

corporation, such as Bodega Latina Corp., is deemed to be a “citizen” of the state where

it maintains its principal place of business (its “nerve center”) and the state of its

incorporation.2 Therefore, Defendant is a citizen of the states of Delaware and California,

the principal place of business and the state of incorporation of Fiesta Mart LLC’s sole

member, Bodega Latina Corp.

           5.       Plaintiff’s Original Petition in the state court seeks damages over

$1,000,000, and thus the amount in controversy exceeds the sum of seventy-five
thousand dollars ($75,000.00), exclusive of interests and costs.

           6.       Removal of this cause of action is proper under 28 U.S.C. §1441. It is a

civil action brought in state court and the District Courts of the United States have

original jurisdiction over this action under 28 U.S.C. §1332, since the plaintiff and the

defendant are diverse in citizenship.

           7.       As required by 28 U.S.C. §1441, the 270th Judicial District Court of Harris

County, Texas falls within the geographical purview of this Court, and thus, venue is

1
    See e.g., Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008).
2
    See 28 U.S.C. §1332(c)(1); see also, Hertz Corp. v. Friend, 559 U.S. 77. 130 S. Ct. 1181, 1185-86 (2010).


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proper in the United Stated District Court of the Southern District of Texas, Houston

Division.

        8.      Written notice of the filing of this Notice of Removal is being promptly

given to Plaintiff and a notice of Filing of Notice of Removal is promptly being filed with

the 270th District Court in Harris County, Texas, as required by 28 U.S.C. §1446(d).

        WHEREFORE, PREMISES CONSIDERED, Defendant Fiesta Mart, LLC prays

that the state action now pending in 270th District Court in Harris County, Texas, be

removed to this Court, and for any further relief to which Defendant is justly entitled.



                                              Respectfully submitted,
                                              MEHAFFYWEBER, P.C.

                                              By:/s/Maryalyce W. Cox
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                                              ATTORNEYS FOR DEFENDANT
                                              FIESTA MARY LLC (D/B/A FIESTA
                                              MART #51)

                                CERTIFICATE OF SERVICE

       In addition to e-filing, this is to certify that a true and correct copy of the above
and foregoing instrument has been forwarded by Certified Mail, return to receipt
requested, to all counsel of record on this the 12th day of February, 2021 pursuant to both
the Texas Rules of Civil Procedure and the Federal Rules of Civil Procedure. .


                                                      Maryalyce W. Cox
                                                      Maryalyce W. Cox




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